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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW, a/k/a Kimberley Vertanen,

         Defendants.


  GOVERNMENT’S LIST OF PROPOSED EXHIBITS FOR SUPPRESSION HEARING
                         OF OCTOBER 12, 2022


         The government hereby submits its preliminary list of proposed exhibits. The government

 notes its objection to any hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978) for the

 reasons set forth in its filing at ECF No. 215. The defendants are only entitled to a hearing if they

 provide a substantial preliminary showing that agents here made intentionally and knowingly

 false statements or acted with reckless disregard for the truth. This is an extraordinary allegation

 and entertaining it without a proper basis is contrary to the law’s presumption of good faith.

         The government will seek to admit exhibits 9 -44 only in the event of a Franks hearing.

 Because the issue at a Franks hearing is the knowledge of the affiants at the time of the warrant,

 the government’s position is that each is admissible for the non-hearsay effect on the listener

 (i.e., the affiant using the evidence to craft her affidavit) and not for the truth of any matters

 asserted.

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            Respectfully submitted this 6th day of July, 2022.

                                                   COLE FINEGAN
                                                   United States Attorney
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                                 CERTIFICATE OF SERVICE


        I hereby certify that on this 7th day of October, 2022, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system which will send notification to all counsel

 of record




                                                      By:     /s Bryan Fields
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